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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                                :
 KARS 4 KIDS INC.,                              :      Civil Action No. 14-7770 (PGS/LHG)
                                                :
          Plaintiff,                            :
                                                :               Electronically Filed
 v.                                             :
                                                :
 AMERICA CAN!,                                  :      ORAL ARGUMENT REQUESTED
                                                :
          Defendant.                            :
                                                :
                                                :



      MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF KARS 4 KIDS INC.’S
          MOTION IN LIMINE NO. 1 TO EXCLUDE THE ENTIRETY OF
                      BRYCE R. COOK’S OPINIONS




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 I.      INTRODUCTION

         Plaintiff Kars 4 Kids, Inc. (“Kars 4 Kids”) respectfully submits this memorandum of law

 in support of its motion in limine to exclude the proffered opinions of Bryce R. Cook on the

 amount of America Can!’s (“America Can”) alleged damages.

         Mr. Cook’s proffered opinions are purely speculative. For instance, Mr. Cook

 attributes—without any explanation or justification—a years-long decline in vehicle donations

 experienced by America Can to Kars 4 Kids’ use of the marks KARS 4 KIDS and 1-877-KARS-

 4-KIDS (the “KARS 4 KIDS Marks”).1 Mr. Cook goes on to assert that the appropriate measure

 of damages from Kars 4 Kids’ use of the KARS 4 KIDS Marks is disgorgement of all of Kars 4

 Kids’ profits (measured as revenue less related expenses) from 2008 through 2017. In other

 words, Mr. Cook offers nothing more than his subjective belief that, absent Kars 4 Kids’ use of

 the KARS 4 KIDS Marks, every single donation Kars 4 Kids received over a nine-year period

 would have gone to America Can. But Mr. Cook conceded at his deposition that there are

 numerous other factors that could explain the decrease in donations to America Can, and that he

 could not (and did not) eliminate these other factors as the reason(s) for the decline.

 Significantly, Mr. Cook even admitted that he could not identify a single instance in which

 consumer confusion resulted in Kars 4 Kids receiving a donation instead of America Can. In Mr.

 Cook’s own words, he was “unable to quantify a claim for lost donations and profits solely

 attributable to [Kars 4 Kids’] actions.” Declaration of Briggs M. Wright (“Wright Decl.”) Ex. 2

 at 3.




 1
  Mr. Cook’s analysis assumes that America Can has prior rights in its “Cars for Kids”
 designation. However, as the evidence will bear out, this assumption is unfounded as Kars 4
 Kids enjoys priority in the KARS 4 KIDS Marks.


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        America Can also proposes to have Mr. Cook testify, as an alternative measure of

 damages, about the amount of corrective advertising America Can would need to perform to

 correct alleged (and unsubstantiated) consumer confusion. But Mr. Cook’s corrective

 advertising opinion also rests on nothing more than his own ipse dixit. Rather than conduct an

 analysis of how much corrective advertising would be needed, Mr. Cook merely “assume[s] that

 America Can would be required to spend the same amount on fundraising advertising” that Kars

 4 Kids spent between 2008 and 2016. Wright Decl. Ex. 2 at 18 (emphasis added). As with his

 lost profits opinion, Mr. Cook merely proposes to the jury to take his word for it.

        Mr. Cook’s opinions about the causes of the downward trend in donations to America

 Can and amounts of corrective advertising are not based on any methodology whatsoever—much

 less reliable ones. These are exactly the kind of unsubstantiated assertions that should be kept

 from the jury under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharms., Inc.,

 509 U.S. 579 (1993). Mr. Cook’s proffered opinions must therefore be excluded.

 II.    LEGAL STANDARD

        America Can bears the burden of establishing “by a preponderance of proof” that Mr.

 Cook’s opinions meet the requirements of Federal Rule of Evidence 702. Oddi v. Ford Motor

 Co., 234 F.3d 136, 144 (3d Cir. 2000) (quoting Daubert, 509 U.S. at 593 n.10). Rule 702, which

 reflects the reasoning of the Supreme Court in Daubert, requires purported expert testimony to

 satisfy several conditions before it can be presented to the jury, including: “(a) the expert’s

 scientific, technical, or other specialized knowledge will help the trier of fact to understand the

 evidence or to determine a fact in issue; (b) the testimony is based upon sufficient facts or data;

 (c) the testimony is the product of reliable principles and methods; and (d) the expert has applied

 the principles and methods reliably to the facts of the case.” Fed. R. Evid. 702.




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        The Third Circuit recognizes that Rule 702 codifies a “trilogy of restrictions on expert

 testimony: qualification, reliability and fit.” Calhoun v. Yamaha Motor Corp., U.S.A., 350 F.3d

 316, 321 (3d Cir. 2003) (internal quotations omitted). Under this Rule, the district court must

 serve “as a gatekeeper to ensure that any and all expert testimony or evidence is not only

 relevant, but also reliable.” Israel v. Smith, No. 13CV0097PGSLHG, 2018 WL 1832990, at *1

 (D.N.J. Apr. 16, 2018) (Sheridan, J.) (internal quotation marks omitted); see also Schneider ex

 rel. Estate of Schnieder v. Fried, 320 F.3d 396, 404 (3d Cir. 2003).

        Under Daubert and Rule 702, certain requirements must be met before a putative expert’s

 testimony can be presented to the jury. The reliability restriction requires “that the expert’s

 opinion be based on the ‘methods and procedures of science’ rather than on ‘subjective belief or

 unsupported speculation’; the expert must have ‘good grounds’ for his or her belief.” In re Paoli

 R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d Cir. 1994) (quoting Daubert, 509 U.S. at 590). A

 court need not “simply ‘take the expert’s word for it.’” Sold v. Sandoz Pharms. Corp., 244 F.

 Supp. 2d 434, 563 (W.D. Pa. 2003) (quoting Fed. R. Evid. 702 advisory committee’s note

 (2000)); see also Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311, 1319 (9th Cir. 1995).

 Accordingly, the Third Circuit has developed an eight-part test for evaluating the reliability of

 proffered expert testimony:

        (1) whether a method consists of a testable hypothesis; (2) whether the method
        has been subject to peer review; (3) the known or potential rate of error; (4) the
        existence and maintenance of standards controlling the technique’s operation; (5)
        whether the method is generally accepted; (6) the relationship of the technique to
        methods which have been established to be reliable; (7) the qualifications of the
        expert witness testifying based on the methodology; and (8) the non-judicial uses
        to which the method has been put.

 United States v. Schiff, 538 F. Supp. 2d 818, 833 (D.N.J. 2008) (quoting United States v.

 Mitchell, 365 F.3d 215, 235 (3d Cir. 2004)).




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        Mr. Cook’s conjecture about the supposed effect Kars 4 Kids’ use of the KARS 4 KIDS

 Marks had on America Can’s donations and the need for corrective advertising, which are the

 sole grounds for his calculation of alleged damages, must be excluded because it is based on

 pure speculation and thus cannot satisfy the Schiff test.

 III.   ARGUMENT

        A.      Mr. Cook’s Proffered Testimony Regarding Disgorgement of Profits Is
                Speculative

        Mr. Cook’s expert report observes that America Can’s donations “declined sharply in

 2005, partially rebounded in 2006 through 2009, and then sharply declined again in 2010 . . . .”

 Wright Decl. Ex. 1 at 2. Mr. Cook attributes this decline to Kars 4 Kids’ “market entry and

 growth in each of [America Can’s] markets, along with its high advertising spend . . . .” Id. at 2-

 3. However, Mr. Cook cites no evidence that Kars 4 Kids’ activities were directly or even

 indirectly responsible for the decline in America Can’s donations, and identifies no studies,

 tests, or analyses of any data that could support such a conclusion. He does not take into account

 that such a decline could be attributed to America Can’s low advertising spend, or Kars 4 Kids’

 prior use of its KARS 4 KIDS Marks across the country, or other third party charities, or changes

 to tax laws that led to a decrease in donations. Nevertheless, Mr. Cook would opine that

 America Can’s damages should be measured as Kars 4 Kids’ total profits from all car donations

 between 2008 and 2017.2 Id. at 9. Clearly, Mr. Cook’s opinions are not the result of any

 methodology, much less a reliable methodology appropriately applied.




 2
  In his opening report, Mr. Cook asserted that America Can’s damages should be measured as
 Kars 4 Kids’ total revenue during that time period. Wright Decl. Ex. 1 at 9. Mr. Cook only
 deducted Kars 4 Kids’ related expenses from this figure in his reply report in response to
 criticisms from Kars 4 Kids’ expert. Wright Decl. Ex. 2 at 8-9.


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        B.      Mr. Cook’s Proffered Testimony Regarding Corrective Advertising Is
                Speculative

        In his reply report, Mr. Cook also suggests an alternative measure of damages in the form

 of corrective advertising to correct alleged (and unsubstantiated) consumer confusion, which he

 “assume[s]” would be in the amount of all of Kars 4 Kids’ advertising expenditures between

 2008 and 2017. Wright Decl. Ex. 2 at 18. Here too, Mr. Cook assumes that each and every

 advertisement purchased by Kars 4 Kids caused consumer confusion. However, Mr. Cook

 identifies no specific advertisement that allegedly would cause such confusion, nor does he

 identify any studies, tests, or analyses of data that underlie this conclusion. Yet, America Can

 would have Mr. Cook testify that under a corrective advertising measure, each and every penny

 that Kars 4 Kids spent on advertising must go to America Can in order to correct consumer

 confusion. These are mere assumptions, as with Mr. Cook’s testimony regarding disgorgement

 of profits, and not the product of a reliable methodology reliably applied.

        C.      Mr. Cook’s Proffered Testimony Is Unreliable Under Schiff

        The basis for Mr. Cook’s testimony with regard to damages – under both the

 disgorgement of profits and corrective advertising measures – is pure speculation and assumes

 that Kars 4 Kids’ use of the KARS 4 KIDS Marks caused a decline in America Can’s donations.

 But Mr. Cook admitted in his deposition that other factors—including (i) changes in the tax law

 in 2005 that impacted the deductibility of vehicle donations; (ii) the increase in demand for used

 cars caused by the 2007-2009 economic recession in the United States; and (iii) a crowded field

 with other organizations competing with both Kars 4 Kids and America Can for vehicle

 donations—could be responsible for any decline in America Can’s donations. Wright Decl. Ex.

 3 at 45:15-25. Yet, without any explanation, Mr. Cook simply ignored these other likely causal

 factors. Mr. Cook testified that he did not perform any analysis whatsoever to determine how

 much any alternative factor may have contributed to the decline in America Can’s donations,



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which he simply assumes is only attributable to Kars 4 Kids’ use of the KARS 4 KIDS Marks.

Id. at 46:2-9. Nor does he have any opinion about, or methodology for determining, how much

these alternative factors contributed in whole or in part to any decrease in donations to America

Can. Id.

       Mr. Cook also fails to propose a methodology that could determine whether Kars 4 Kids’

use of the KARS 4 KIDS Marks had any impact on donations to America Can, and if so how

much of one. Indeed, Mr. Cook ultimately conceded that because of “other factors (e.g., the

economy, the existence of other vehicle-donation charities, America Can’s own advertising

spend),” he was “unable to quantify a claim for lost donations and profits solely attributable to

[Kars 4 Kids’] actions.” Wright Decl. Ex. 2 at 3.

       Indeed, Mr. Cook admitted that his damages opinion rests on nothing more than an

assumption that Kars 4 Kids is responsible for the decline in America Can’s donations, and not

on any quantifiable measure or substantive analysis:

       Q.      So you . . . believe that Kars 4 Kids’ growth did cause a decline in

       America Can!’s donations, but you have no ability to quantify the amount of that

       decline in America Can!’s donations?

       A.      Yes. I’ve said that many times throughout the deposition.

       Q.      And so it could be one donation, for all you know?

       A.      I’m sure it’s more than one.

       Q.      What makes you sure of that?

       A.      Because they’re – they’re getting millions of donations – or I’m sorry,

       thousands of donations. So I would assume it’s more than one.

       Q.      Okay. But you’re assuming that. You’ve done no –




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       A.      Right.

Wright Decl. Ex. 3 at 79:11-80:2 (emphasis added).

       As Mr. Cook conceded, his proffered testimony is nothing more than assumption and

speculation, plain and simple. Since his opinions are not derived from any testable method or

hypothesis which could potentially be subject to peer review, they run afoul of the first and

second Schiff factors. With no testable method, Mr. Cook’s “methodology” has no known or

potential rate of error under the third Schiff factor, no standards governing it under the fourth

Schiff factor, no general acceptance under the fifth Schiff factor, no establishment of reliability

under the sixth Schiff factor, and no non-judicial uses under the eighth Schiff factor. Mr. Cook

has provided no evidence for or genuine methodology supporting his assumption that any of the

decline in America Can’s donations is attributable to Kars 4 Kids’ use of the KARS 4 KIDS

Marks—much less all of it.

       Mr. Cook’s subjective beliefs are exactly the kind of testimony that the Third Circuit

considers unreliable and inadmissible under Federal Rule of Evidence 702. Elcock v. K-Mart

Corp., 233 F.3d 734, 756 (holding trial court abused its discretion in allowing an expert’s

damages testimony which “relied on several empirical assumptions that were not supported by

the record”). Courts in this District and Circuit recognize the unreliability—and

inadmissibility—of putative expert testimony based on unsupported factual assumptions. See

Mercedes-Benz, U.S.A. LLC v. Coast Auto. Grp., Ltd., No. CIV A 99-3121 WHW, 2006 WL

2830962, at *13 (D.N.J. Sept. 29, 2006) (excluding putative expert testimony “based on nothing

more than speculation and subjective belief”); Bracco Diagnostics, Inc. v. Amersham Health,

Inc., 627 F. Supp. 2d 384, 444 (D.N.J. 2009) (excluding putative expert’s testimony on lost

profits where the expert avoided “having to apportion any amount of damage” which was “fatal




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to the validity of his calculations” on the issue of damages); Citizen Fin. Grp., Inc. v. Citizens

Nat. Bank of Evans City, No. CIV.A. 01-1524, 2003 WL 24010950, at *17 (W.D. Pa. Apr. 23,

2003), aff’d sub nom. Citizens Fin. Grp., Inc. v. Citizens Nat. Bank of Evans City, 383 F.3d 110

(3d Cir. 2004) (excluding putative damages expert assumed that alleged infringer’s use of mark

caused the proffered damages); JMJ Enterprises, Inc. v. Via Veneto Italian Ice, Inc., No. CIV.

A. 97-CV-0652, 1998 WL 175888, at *11 (E.D. Pa. Apr. 15, 1998), aff’d, 178 F.3d 1279 (3d Cir.

1999) (excluding putative expert who “did not point to reliable evidence that would bridge the

gap between the facts and his conclusion”).

       Mr. Cook cites no facts that could support an opinion on the impact of Kars 4 Kids’ use

of the KARS 4 KIDS Marks on donations to America Can, and offers no methodology for

assessing any such impact in light of other factors that he admits could have caused the decline.

Speculative opinions are not helpful to the jury. Kuhar v. Petzl Co., No. CV 16-0395 (JBS/JS),

2018 WL 6331682, at *5 (D.N.J. Dec. 4, 2018) (excluding speculative opinion as “of no

assistance to the jury”). The Court should respectfully prevent such rank speculation from

reaching the jury.

IV.    CONCLUSION

       For the reasons set forth above, Kars 4 Kids respectfully requests that the Court exclude

the proffered opinions from Mr. Cook in their entirety.




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